Case 2:21-cv-04920-WLH-ADS   Document 274-2   Filed 02/09/23   Page 1 of 7 Page
                                 ID #:6823




                Exhibit 1
Case 2:21-cv-04920-WLH-ADS            Document 274-2   Filed 02/09/23     Page 2 of 7 Page
                                          ID #:6824



  1
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  9                                  UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 10                                       SOUTHERN DIVISION
 11 SERENA FLEITES,                                       CASE NO. 2:21-cv-4920-CJC-ADS
 12                    Plaintiff,                         HON. CORMAC J. CARNEY
 13              v.                                       PLAINTIFF’S FIRST SET OF
                                                          INTERROGATORIES TO
 14 MINDGEEK S.A.R.L., a foreign entity; MG               DEFENDANT FERAS ANTOON
    FREESITES, LTD.; MINDGEEK USA
 15 INCORPORATED, a Delaware corporation;
    MG PREMIUM LTD, a foreign entity; MG
 16 GLOBAL ENTERTAINMENT INC., a
    Delaware corporation; 9219-1568 QUEBEC,
 17 INC., a foreign entity; BERND
    BERGMAIR, a foreign individual; FERAS
 18 ANTOON, a foreign individual; DAVID
    TASSILLO, a foreign individual; COREY
 19 URMAN, a foreign individual; VISA INC.,
    a Delaware corporation; COLBECK
 20 CAPITAL DOES 1-5; and BERGMAIR
    DOES 1-5,
 21

 22                   Defendants.
 23

 24
      PROPOUNDING PARTY:                PLAINTIFF SERENA FLEITES
 25
      RESPONDING PARTY:                 DEFENDANT FERAS ANTOON
 26
      SET NO.:                          ONE
 27

 28

                                                   1
Case 2:21-cv-04920-WLH-ADS            Document 274-2        Filed 02/09/23      Page 3 of 7 Page
                                          ID #:6825



  1           Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Serena

  2 Fleites (“Plaintiff”) requests that Defendant Feras Antoon (“Defendant”) answer, separately and

  3 fully, in accordance with the following definitions and instructions, in writing, under oath, the

  4 following First Set of Interrogatories (the “Interrogatories”), within 30 days after service.

  5                                                DEFINITIONS

  6           1.     “Action” means the lawsuit captioned Fleites v. MindGeek S.A.R.L. et al, 2:21-cv-

  7 4920-CJC-ADS.

  8           2.     “Amended Complaint” means the Plaintiff’s First Amended Complaint filed March

  9 21, 2022 in this Action at Docket No. 124-3.
 10           3.     “You” or “Your” refers to Defendant Feras Antoon.
 11           4.     “MindGeek Entity” or “MindGeek Related Entities” refers to the hundreds of
 12 companies that are owned, directly or indirectly, and/or affiliated with MindGeek S.A.R.L.,

 13 including the hundreds of tubesites owned and operated by MindGeek, and the hundreds of

 14 companies that were created and dissolved during the period relevant to the Amended Complaint,

 15 and includes each of those entities’ current or former partners, directors, shareholders, employees,

 16 employers, officers, agents, principals, officials, representatives, associates, consultants, attorneys,

 17 advisors, accountants, aliases, and all persons and entities acting or purporting to act on the

 18 entities’ behalf.

 19
              5.     “Individual Defendant” or “Individual Defendants” means the following parties in
 20
      this action:
 21
                     a.   Bernd Bergmair
 22                  b.   Feras Antoon
 23                  c.   David Tassillo; and/or
                     d.   Corey Urman
 24
              6.     “MindGeek Tubesites” refers to the over 100 pornographic websites and brands
 25
      owed by the MindGeek Entities, including but not limited to Pornhub, RedTube, Tube8, YouPorn,
 26
      PornIQ, gaytube, Thumbzilla, Peeperz, PornMD, Xtube, Brazzers, Babes.com, Reality Kings,
 27
      Digital Playground, Twistys, Men.com, Mofos, MyDirtyHobby, SexTube, and Webcams.
 28

      PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT FERAS ANTOON
                                                        2
Case 2:21-cv-04920-WLH-ADS           Document 274-2        Filed 02/09/23      Page 4 of 7 Page
                                         ID #:6826



  1          7.      “Any” or “all” shall mean any and all, and shall serve to bring within the scope of

  2 the Requests all responses that might otherwise be construed to be outside of their scope.

  3          8.      “Communication” shall mean and refer to any mode of conveying, distributing,

  4 disclosing, publishing, transferring and exchanging meaning or information, whether orally or by

  5 document, or whether by in-person conversations, telephone, mail, facsimile, personal delivery,

  6 overnight delivery, video recording, text or other electronic message, including ICQ, electronic

  7 mail or computer generated posting or any other display on the internet, or otherwise. The term

  8 shall include notes, memoranda, or any other document memorializing, conveying, or referring to

  9 the information Posts and comments to any social media accounts such as Facebook, Twitter,
 10 YouTube, LinkedIn, Tumblr, Instagram, Pinterest, and Snapchat, and include comments to online

 11 materials posted to the MindGeek Tubesites. These terms are further intended to include, without

 12 limitation, any summaries, reviews, reports, notes, logs, records, journals, minutes, or outlines

 13 concerning or memorializing the transmittal of information, opinion, words, or data.

 14          9.      “Employee” includes, without limitation, current or former partners, directors,
 15 shareholders, employees, officers, agents, officials, representatives, associates, consultants,

 16 attorneys, advisors, accountants, aliases, and all persons and entities acting or purporting to act on

 17 the employer’s behalf.

 18          10.     “Person” means any natural person, corporation, partnership, firm, association or
 19 any business, legal or governmental agency.

 20          11.     “Parent” means any person or entity which owns shares of stock or other ownership
 21 interests in a subordinate entity, having ordinary voting power to elect a majority of the board of

 22 directors or other managers of such subordinate entity are at the time owned, or the person which

 23 manages or otherwise controls, directly or indirectly, such subordinate entity.

 24          12.     “Affiliate” or “Affiliates” means a subsidiary corporation, sister corporation,
 25 subsidiary limited liability company, sister limited liability company, or any other form of

 26 business entity with an overlap of ownership, board of directors, managers, or executives.

 27          13.     The term “including” means including without limitation.
 28          14.     “CSAM” refers to Child Sexual Abuse Material and includes child pornography

      PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT FERAS ANTOON
                                                       3
Case 2:21-cv-04920-WLH-ADS           Document 274-2        Filed 02/09/23       Page 5 of 7 Page
                                         ID #:6827



  1 and any visual depiction of sexually explicit conduct involving a minor (a person less than 18

  2 years old) or the sexual abuse and exploitation of a child or children.

  3           15.   “NCMEC” refers to the National Center for Missing and Exploited Children.

  4           16.   As used herein, the “Relevant Time Period” covered by the Interrogatories is from

  5 June 1, 2013 through the present.

  6           17.   Anything not defined herein specifically shall have the definition given in the

  7 Amended Complaint.

  8                                           INSTRUCTIONS

  9           1.    These Interrogatories should be construed in the broadest possible manner
 10 consistent with the Federal Rules of Civil Procedure and the Local Civil Rules.

 11           2.    The use of capital letters, lower case letters, or quotation marks in these
 12 Interrogatories shall not be construed to limit the scope of any specific interrogatory contained

 13 herein.

 14           3.    The connectives “and” and “or” shall be construed either disjunctively or
 15 conjunctively as necessary to bring within the scope of the Interrogatories all responses that might

 16 otherwise be construed to be outside its scope.

 17           4.    The use of the singular form of any word includes the plural and vice versa.
 18           5.    In each instance, if any, where You deny knowledge or information sufficient to
 19 respond to an Interrogatory, or any part thereof, identify each person known or believed to have

 20 such knowledge.

 21           6.    If, in responding to this set of Interrogatories, or any part of it, You encounter any
 22 ambiguity in construing either any Interrogatory or instruction relevant to the Interrogatory, You

 23 shall construe the Interrogatory in the broadest manner reasonably calculated to lead to

 24 information relevant to any issues or potential issues in this case and set forth in Your response

 25 the construction chosen or used in answering the Interrogatory.

 26           7.    The Interrogatories are continuing in nature and require that you promptly produce
 27 additional or amended responses promptly if new or further information is obtained or discovered

 28 subsequent to the time responses are served.

      PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT FERAS ANTOON
                                                       4
Case 2:21-cv-04920-WLH-ADS            Document 274-2         Filed 02/09/23      Page 6 of 7 Page
                                          ID #:6828



  1                                         INTERROGATORIES

  2 INTERROGATORY NO. 1

  3          Identify all individuals or entities who hold, or have held during the Relevant Time Period,

  4 any direct, indirect, or beneficial economic interest by way of ownership, equity, shareholding,

  5 secured interest, indebtedness, option, derivative, trust, or otherwise in any MindGeek Related

  6 Entity or affiliate, and the precise nature and extent of that interest.

  7 INTERROGATORY NO. 2

  8          Describe in detail each transaction during the Relevant Time Period in which ownership,

  9 shares, indebtedness, secured interests, options, derivatives, or other capital related transactions
 10 occurred involving a MindGeek Related Entity, and identify the direct and indirect participants in

 11 those transactions.

 12 INTERROGATORY NO. 3

 13          Identify the date, participants, and content for every presentation or communication of

 14 financial or other economic performance to investors, lenders, or others with direct or indirect

 15 financial interests in any MindGeek Related Entity.

 16 INTERROGATORY NO. 4

 17          Describe in detail all direct or indirect jurisdictional contacts within the relevant

 18 jurisdictions, i.e. the United States and California, that You or Your agents, or any of the

 19 MindGeek Related Entities and their owners, executives, and employees, have or had during the

 20 Relevant Time Period, including but not limited to, offices, residences, and real estate located in

 21 the relevant jurisdictions; personnel or vendors employed, retained, or paid located in the relevant

 22 jurisdictions, trips to the relevant jurisdictions; and revenues, profits, expenses, taxes earned or

 23 paid in or from the relevant jurisdictions; and communications or business relationships with, to,

 24 or in either of the relevant jurisdictions.

 25 INTERROGATORY NO. 5

 26          Identify all aliases used by MindGeek executives, personnel, or agents to communicate

 27 publicly or privately in any communications related to MindGeek’s business.

 28 INTERROGATORY NO. 6

      PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT FERAS ANTOON
                                                        5
Case 2:21-cv-04920-WLH-ADS          Document 274-2        Filed 02/09/23       Page 7 of 7 Page
                                        ID #:6829



  1         Identify all social media accounts, email accounts, cell numbers, text, or other

  2 communications services or applications used by the Individual Defendants directly or through

  3 any MindGeek Related Entity during the Relevant Time Period.

  4

  5 DATED: August 16, 2022                     BROWN RUDNICK LLP

  6

  7

  8                                            By:
                                                     Michael J. Bowe
  9                                                  Lauren Tabaksblat
                                                     Attorneys for Plaintiff
 10
                                                     SERENA FLEITES
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      PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT FERAS ANTOON
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